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              In the United States Court of Federal Claims
                                                     )
 __________________________________
 TE TE Raj K. Patel                                  )
                                                     )
 __________________________________                  )
                     Plaintiff(s),                   )                     22-1446 C
                                                             Case No. _______________________
                                                     )
 v.                                                  )
                                                                 Judge _______________________
                                                     )
 THE UNITED STATES,                                  )
                                                     )
                            Defendant.               )
                                                     )


                                 Application to Proceed In Forma Pauperis


I,____________________________________,
  Raj K. Patel                                     declare that the following is true and correct; that I am the
plaintiff in the above entitled case; that in support of my application to proceed without being required to
prepay fees, costs, or give security thereof, I state that because of my poverty, I am unable to pay the costs
of said proceedings or to give security thereof, and that I am entitled to relief pursuant to 28 U.S.C. §
1915.

1. Are you incarcerated?        □ Yes     □ No      (If the answer is no, go to question 2.)

      I am being held at: ________________________________________________________________

      Do you receive any payment from this institution? □ Yes □ No
      Monthly amount: ________________________________________

      □ I have attached a certified copy of my trust fund account statement (or institutional equivalent) for
         the six (6)-month period immediately preceding the filing of this complaint, as required by 28
         U.S.C. § 1915(a)(2).

      □ I have attached a “Prisoner Authorization form” authorizing the Facility where I am incarcerated
         to deduct the filing fee from my account in installments and to send to the court certified copies
         of my account statements for the past six (6) months.

2. Are you currently employed?       □ Yes □ No
       a. If the answer is yes, give the name and address of your employer and state the amount of your
          salary or wages per month (both gross and net).
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        b. If the answer is no, state the date of last employment and the amount of your salary or wages
           per month (both gross and net).
         Budget 8 Inn (aug. 2021- aug. 2021) ($800.00) ($640.00)
3. Within the past twelve (12) months, have you received any money from the following sources?
      a. Business, profession, or other form of self-employment?                        □ Yes            □   No
      b. Rent payments, interest, or dividends?                                         □ Yes            □   No
       c. Pensions, annuities, or life insurance payments?                              □ Yes            □   No
       d. Gifts or inheritances?                                                        □ Yes            □   No
       e. Any other sources?                                                            □ Yes            □   No

        If the answer to any of the above is yes, describe each source of money and the amount received
        in the last twelve (12) months, and what you expect to receive in the future.
         $19,000 in check; this was to pay off credit card debt to attend family event;
         $17,000+ in debt still; do not expect anything.

        If the answer is no to all of the questions above, explain how you are paying your expenses.
         I am taking loans and cash advances


4. How much money do you have in cash or in a checking, savings, or inmate account?
$0. But, I have about $5,500 in cash advance which is a part of my debt.

5. Do you own any automobiles, real estate, stocks, bonds, securities, trusts, jewelry, art work, or other
   financial instruments or items of value, including any items of value held in someone else’s name? If
   so, describe each property and its approximate value.
N/A

6. Do you have any housing, transportation, utilities, or loan payments, or other regular monthly
   expenses? If so, describe and provide the amount of each monthly expense.
$80 cell phone bill; $1,500 minimun payment; $1,500 food expenses; clothes expenses

7. List any persons dependent upon you for support, your relationship to those persons, and how much
   you contribute toward their support.
n/a

8. Do you have any debts or financial obligations not described above? If so, describe the amounts
   owed and to whom they are payable.
Patel v. United States, No. 1:22-cv-734-LAS (C.F.C. July 6, 2022), Dkt. 7 (IFP granted)

Affidavit: I declare under penalty of perjury that the foregoing is true and correct and that a false
statement may result in dismissal of my complaint.

            Oct. 3, 2022
________________________________________                    _______________________________________
                      (Date)                                               (Signature of Applicant)

________________________________________                    Patel, Raj K.
                                                            _______________________________________
    Prison Identification # (if incarcerated)                             Print Name (Last, First, MI)
